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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  HEAD KANDY, LLC,

            Plaintiff/Counterclaim Defendant,

  v.                                                  CASE NO. 23-CV-60345-JB/JMS

  KAYLA MARIE MCNEILL,

            Defendant/Counterclaimant/Third-Party Claimant,
  v.

  JEROME FALIC,

            Third-Party Defendant.
                                                               /

              HEAD KANDY’S AND MR. FALIC’S NOTICE OF FILING
              EXHIBITS AND DESIGNATION OF PREVIOUSLY FILED
        MATERIALS REFERENCED IN THEIR RESPECTIVE STATEMENTS OF
       MATERIAL FACTS IN SUPPORT OF MOTIONS FOR SUMMARY JUDGMENT

          Plaintiff/Counterclaim Defendant Head Kandy, LLC (“Head Kandy”) and Third-Party

 Defendant Jerome Falic (“Mr. Falic”), pursuant to Fed. R. Civ. P. 56 and Loc. R. 56.1, hereby file

 the attached previously unfiled exhibits on which they rely in their contemporaneously filed

 Statements of Material Facts (“SMF”) in support of their respective Motions for Summary

 Judgment, and refer the Court to additional materials previously filed on the docket:

 Newly Filed Exhibits Attached Hereto:

  Exhibit        Title                                                     Cited in SMF as…
  Number
  1              Excerpts from the 7/12/2024 and 9/10/2024 Depositions     “K.McNeill Dep.”
                 of Kayla McNeill [ECF Nos. 446-1, 446-3, 462-1]
  2              Excerpts from the 8/15/2024 Deposition of Jerome Falic    “Falic Dep.”
                 [ECF 439-1]
  3              Excerpts from the 8/7/2024 Deposition of Jonathan         “Rosenbaum Dep.”
                 Rosenbaum [ECF 435-1]
  4              Excerpts from the 7/31/2024 Deposition of Bryan           “Feldman Dep.”
                 Feldman [ECF 436-1]


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  5             Excerpts from the 6/27/2024 Deposition of Mindy            “McDermaid Dep.”
                McDermaid [ECF 437-1]
  6             Excerpts from the 9/6/2024 Deposition of Ryan              “Thompson Dep.”
                Thompson [ECF 438-1]
  7             Excerpts from the 7/16/2024 Deposition of Dustin           “D.McNeill Dep.”
                McNeill [ECF 440-1]
  8             Excerpts from the 5/14/2024 Deposition of Christopher      “Hines Dep.”
                Hines [ECF 441-1]
  9             Excerpts from the 5/9/2024 Deposition of Nicole Cook       “Cook Dep.”
                [ECF 442-1]
  10            Excerpts from the 8/12/2024 Deposition of Kleitias Petri   “Petri Dep.”
                [ECF 444-1]
  11            Excerpts from the 8/29/2024 Deposition of Sergio           “Negreira Dep.”
                Negreira [ECF 445-1]
  12            Excerpts from the 8/26/24 Deposition of Kaylin Culp        “Culp Dep.”
                [ECF 443-1].
  13            Excerpts from Transcript of 8/1/2023 Evidentiary           “Hrg. Tr.”
                Hearing Before The Honorable Jared M. Strauss [ECF
                219-1]
  14            Composite of Documents from Employee Files                 “Ex. 14”
  15            Composite of text messages between Kayla McNeill and       “Ex. 15”
                Jon Rosenbaum
  16            Composite of text messages between Kayla McNeill and       “Ex. 16”
                Ryan Thompson
  17            Composite of text messages between Kayla McNeill and       “Ex. 17”
                Jerome Falic
  18            Composite of additional communications to, from, or        “Ex. 18”
                copying Kayla McNeill
  19            Head Kandy’s May 14, 2024 Letter in Response to            “Ex. 19”
                McNeill’s Civil Theft Demand regarding forklift
  20            Declaration of Franklin Zemel, Esq. (5/1/2024)             “Ex. 20”
  21            Affidavit of Ethan Loeb (12/2/2024)                        “Ex. 21”
  22            McNeill’s 3/1/2024 Initial Rule 26 Disclosures             “Disclosures”
  23            Declaration of Ryan Thompson (11/26/2024)                  “Ex. 23”
  24            Articles of Incorporation for White Pineapple              “Ex. 24”
                Corporation filed with the Colorado Secretary of State
                on March 2, 2022
  25            McNeill’s Final Pay Stubs dated 1/27/2023 and              “Ex. 25”
                2/1/2023
  26            American Express Statement dated May 2, 2019               “Ex. 26”
  27            McNeill’s April 2019 Pueblo Bank Statement                 “Ex. 27”
  28            Declaration of Jerome Falic (11/25/2024)                   “Ex. 28”
  29            Declaration of Nicole Cook (10/4/2023)                     “Ex. 29”
  30            Declaration of Sydney Cook (10/20/2023)                    “Ex. 30”
  31            Declaration of Dallas Perkins (10/27/2023)                 “Ex. 31”



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     32         Declaration of Wendi Sargent (10/24/2023)                “Ex. 32”
     33         Declaration of Damian Woodruff (10/4/2023)               “Ex. 33”
     34         Declaration of Jonathan Rosenbaum (12/2/2024) 1          “Ex. 34”

 Video Exhibits to be Conventionally Filed:

     Exhibit         Title                                               Cited in SMF as…
     Number
     35              Demonstrative- Clips from May 30, 2023              “Ex. 35”
                     Facebook Video Post (43-56_45-22) [ECF 78-2]
     36              Demonstrative- Clips from June 6, 2023              “Ex. 36”
                     Facebook Video Post (4-16_4-31) [ECF 78-25]
     37              Demonstrative- Clips from June 6, 2023              “Ex. 37”
                     Facebook Video Post (5-20_5-34) [ECF 79-1]
     38              Demonstrative- Clips from June 9, 2023              “Ex. 38”
                     Facebook Video Post (16-37_16-51) [ECF 80-1]
     39              Demonstrative- Clips from June 9, 2023              “Ex. 39”
                     Facebook Video Post (23-38_23-46) [ECF 80-2]
     40              Demonstrative- Clips from June 9, 2023              “Ex. 40”
                     Facebook Video Post (25-00_25-10) [ECF 80-3]
     41              McNeill June 3, 2024 Facebook Live video post       “Ex. 41”
                     [ECF 294]
     42              Exhibit A to November 26, 2024 Declaration of       “Ex. 42”
                     Ryan Thompson

 Previously Filed Evidence (cited by ECF number):

     ECF Number    Title
     41-1          Declaration of Ryan Thompson (5/24/23)
     41-2          Declaration of Jerome Falic (5/25/23)
     47-4          Declaration of Mindy McDermaid (6/6/2023)
     73-26         Screenshot from March 14, 2023 Facebook Video Post Kayla McNeill
                   promoting Revlon 3 Barrell Jumbo Hair Waiver
     74-3          Screenshot of headcandypro.com The Troublemaker
     75-10         Screenshot from April 7, 2023 Facebook Live post by Kayla McNeill promoting
                   Contex Keratin treatment
     75-11         Screenshot from April 7, 2023 Facebook Live post by Kayla McNeill promoting
                   Stegall Super Red 5 in 1 Curl


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    Exhibit B to Mr. Rosenbaum’s Declaration is a photograph Ms. McNeill sent via text message
 to Mr. Rosenbaum of herself naked after a surgery. Although it was never designated by any party
 as “Confidential” pursuant to the terms of the parties’ Stipulation Governing the Exchange and
 Protection of Confidential Information, Head Kandy and Mr. Falic have filed the photograph under
 seal given its sensitive content.


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  75-13         Screenshot from April 7, 2023 Facebook Live post by Kayla McNeill promoting
                Bo Stegall Texture Spray
  75-14         Screenshot from April 7, 2023 Facebook Live post by Kayla McNeill promoting
                Bo Stegall Lift Root
  75-16         Screenshot from April 7, 2023 Facebook Live post by Kayla McNeill promoting
                Bo Stegall Healing Clay
  75-18         Screenshot from April 7, 2023 Facebook Live post by Kayla McNeill promoting
                Wet Brush
  75-22         April 8, 2023 Facebook Post on Bo Stegall-The Collection (VIP) by Kayla
                McNeill
  76-3          C.B. Head Kandy Transaction History
  76-5          A.H. Head Kandy Transaction History
  76-7          L.P. Head Kandy Transaction History
  78-5          Screenshot from May 30, 2023 Facebook Video Post Kayla McNeill promoting
                Hair Dance Volumizing Dry Shampoo
  78-16         Screenshot from June 1, 2023 Facebook Video Post by Kayla McNeill
                promoting Hot Tools Curling Iron
  78-18         Screenshot from June 1, 2023 Facebook Video Post by Kayla McNeill
                promoting Cake The Hold Out Hairspray
  78-19         Screenshot from June 1, 2023 Facebook Video Post by Kayla McNeill
                promoting Style Me Texture Spray
  78-20         Screenshot from June 1, 2023 Facebook Video Post by Kayla McNeill
                promoting OGX Shampoo
  78-22         Screenshot from June 1, 2023 Facebook Video Post by Kayla McNeill
                promoting Loreal Blow Dry Primer
  79-2          Screenshot from June 6, 2023 Facebook Video Post by Kayla McNeill
                promoting SGX The Bodyguard Protective Texture Spray
  79-3          Screenshot from June 6, 2023 Facebook Video Post by Kayla McNeill
                promoting Dorisilk Hair Flat Iron
  79-6          Screenshot from June 6, 2023 Facebook Video Post by Kayla McNeill
                promoting Not Your Mothers Naturals Shampoo and Conditioner
  79-10         Screenshot from June 7, 2023 Facebook Video Post by Kayla McNeill
                promoting Loreal Paris 8 Second Wonder Water
  81-4          May 30, 2023 Screenshots of Comments to Facebook Post
  179-1         1/18/2024 Declaration of Kayla McNeill
  187-1         Executive Employment Agreement
  187-2         11/28/2022 Letter from Jed Ferdinand to Kayla McNeill regarding “Notice of
                Material Breach…”
  187-4         1/10/2023 Letter from Jed Ferdinand to Kayla McNeill regarding “Notice of
                Material Breach…”
  187-5         1/30/2023 Letter From Jed Ferdinand to Kayla McNeill regarding “Termination
                of Employment of Kayla Marie McNeill for Cause”
  187-6         Resolutions of Head Kandy, LLC Dated as of February 17, 2023
  199-2         3/14/2024 Declaration of Sanjiv Mehra and exhibits attached thereto
  334-1         Summary of Payments made to McNeill by Head Kandy for rental of her barn



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  360-1         Legal Analysis Memorandum regarding FCHR Case No. 202460880
  360-2         Asset Purchase Agreement
  360-3         Amended and Restated Limited Liability Company Operating Agreement of
                Head Kandy LLC
  432-1         Screenshots of McNeill’s November 14, 2024 Facebook post
  439-2         Ex. 1 to the 8/15/2024 Deposition of Jerome Falic
  439-3         Ex. 2 to the 8/15/2024 Deposition of Jerome Falic
  440-2         Ex. 2 to the 7/16/2024 Deposition of Dustin McNeill
  445-2         Ex. 1 to the 8/29/2024 Deposition of Sergio Negreira (3/29/2024 Expert Report
                of Sergio P. Negreira, C.P.A.)
  446-2         Ex. 5 to the 7/12/2024 Deposition of Kayla McNeill
  463-1         Ex. 3 to the 8/12/2024 Deposition of Kleitias Petri
  464-1         5/31/2024 Expert Report of David W. DeRamus, Ph.D.


                                          /s/ Ethan J. Loeb
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                                          and Jerome Falic




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                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on December 2, 2024 I filed the foregoing with the Clerk of the
 Court by using the CM/ECF system, which will send notice of this filing to: Laura E. Burgess,
 Esquire, laura@leburgesslaw.com, L.E. Burgess, P.A., 5966 S. Dixie Highway, Suite 300, Miami,
 Florida        33143,   Counsel    for    Defendant;           Antonio     L.    Converse,    Esquire,
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                                                 /s/ Ethan J. Loeb
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